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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA                  :
                                           :
 v.                                        :     CRIMINAL ACTION FILE NO.
                                           :     1:20-cr-00357-ELR-RDC-1
                                           :
 NICHOLAS JOSEPH TINDALL,                  :
                                           :
      Defendant.                           :


                ORDER CERTIFYING CASE READY FOR TRIAL

       Counsel for the Defendant has advised the Court that the Defendant does not

intend to file any pretrial motions, and that there is no need for the Court to hold a

pretrial conference. Therefore, the pretrial conference scheduled for February 2,

2021, is canceled. Further, there are no problems reported relating to the scheduling

of the trial.

       IT IS THEREFORE ORDERED and ADJUDGED that this action be, and

the same is hereby, CERTIFIED READY FOR TRIAL.

       IT IS SO ORDERED, this the 1st day of February, 2021.




                                 REGINA D. CANNON
                                 UNITED STATES MAGISTRATE JUDGE
